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 1   Lewis T. LeClair (SBN 77036)
     lleclair@mckoolsmith.com
 2   MCKOOL SMITH, P.C.
     300 Crescent Court, Suite 1500
 3   Dallas, Texas 75201
     Telephone:     (214) 978-4000
 4   Facsimile:     (214) 978-4044

 5   Kirk D. Dillman (SBN 110486)
     kdillman@mckoolsmithhennigan.com
 6   McKool Smith Hennigan, P.C.
     300 South Grand Avenue, Suite 2900
 7   Los Angeles, California 90071
     Telephone:    (213) 694-1200
 8   Facsimile:    (213) 694-1234

 9   Judith A. Zahid (SBN 215418)
     jzahid@zelle.com
10   ZELLE LLP
     44 Montgomery Street, Suite 3400
11   San Francisco, California 94104
     Telephone:     (415) 693-0700
12   Facsimile:     (415) 693-0770

13   Attorneys for Plaintiff, SC Innovations, Inc.

14
                                    UNITED STATES DISTRICT COURT
15
                                  NORTHERN DISTRICT OF CALIFORNIA
16
                                         SAN FRANCISCO DIVISION
17
     SC INNOVATIONS, INC.,                   )               Case No. 3:18-cv-07440-JCS
18                                           )
                           Plaintiff,        )               STIPULATION AND [PROPOSED]
19                                           )               ORDER OF DISMISSAL WITH
                v.                           )               PREJUDICE
20
                                             )
     UBER TECHNOLOGIES, INC., RASIER, LLC, )
21   RASIER-CA, LLC, RASIER-PA, LLC, RASIER-
     DC, LLC, RASIER-NY, LLC, AND UBER USA, )
22   LLC,                                    )
                                             )
23                         Defendants.       )
                                             )
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     Case No. 3:18-cv-07444-JCS                 STIPULATION AND [PROPOSED] ORDER OF DISMISSAL WITH
                                                                                         PREJUDICE
          Case 3:18-cv-07440-JCS Document 142 Filed 08/27/21 Page 2 of 4



 1                                STIPULATION OF DISMISSAL WITH PREJUDICE
 2          Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff SC
 3   Innovations, Inc. (“Plaintiff”) and Defendants, Uber Technologies, Inc.; Rasier, LLC; Rasier-CA,
 4   LLC; Rasier-PA, LLC; Rasier-DC, LLC; Rasier-NY, LLC; and Uber-USA, LLC (collectively,
 5   “Defendants”) through their respective counsel, hereby stipulate to the dismissal of all claims
 6   asserted by Plaintiff against Defendants in the above-captioned action with prejudice and without
 7   costs, attorneys’ fees, or disbursements to any party.
 8          IT IS SO STIPULATED.
 9

10   Date: August 26, 2021                                    MCKOOL SMITH, P.C.
11
                                                   By: /s/ Kirk D. Dillman
12
                                                           Lewis T. LeClair
13                                                         Kirk D. Dillman
                                                           John C. Briody
14
                                                   Attorneys for Plaintiff, SC Innovations, Inc.
15

16
     Date: August 26, 2021                                    GIBSON, DUNN & CRUTCHER LLP
17

18
                                                   By: /s/ Daniel G. Swanson.
19                                                         Theodore J. Boutrous, Jr.
20                                                         Daniel G. Swanson
                                                           Cynthia E. Richman
21
                                                   Attorneys for Defendants Uber Technologies, Inc.,
22                                                 Rasier, LLC, Rasier-CA LLC, Rasier-PA, LLC,
                                                   Rasier-DC, LLC, Rasier-NY, LLC, and Uber USA,
23
                                                   LLC
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     Case No. 3:18-cv-07444-JCS                 STIPULATION AND [PROPOSED] ORDER OF DISMISSAL WITH
                                                                                         PREJUDICE
          Case 3:18-cv-07440-JCS Document 142 Filed 08/27/21 Page 3 of 4



 1                                            ATTESTATION

 2          Pursuant to Civil Local Rule 5-1(i)(3), I hereby attest that concurrence in the filing of this

 3   stipulation has been obtained from each signatory herein.
 4
                                                 By: /s/ Kirk D. Dillman
 5                                                       Kirk D. Dillman

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     Case No. 3:18-cv-07444-JCS               STIPULATION AND [PROPOSED] ORDER OF DISMISSAL WITH
                                                                                       PREJUDICE
          Case 3:18-cv-07440-JCS Document 142 Filed 08/27/21 Page 4 of 4



 1                                          [PROPOSED] ORDER
            Pursuant to the parties’ stipulation, IT IS SO ORDERED.
 2

 3
     Date: August 27, 2021
 4                                             Hon. Joseph C. Spero
                                               Chief United States Magistrate Judge
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     Case No. 3:18-cv-07444-JCS             STIPULATION AND [PROPOSED] ORDER OF DISMISSAL WITH
                                                                                     PREJUDICE
